     Case 6:20-cv-00660-JDK Document 12 Filed 12/29/20 Page 1 of 2 PageID #: 108




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

THE HONORABLE LOUIE                             §
GOHMERT, et al.,                                §
                                                §
           Plaintiffs,                          §
                                                §
v.                                              §    Case No. 6:20-cv-660-JDK
                                                §
THE HONORABLE MICHAEL R.                        §
PENCE,                                          §
                                                §
           Defendant.                           §

                           ORDER FOR EXPEDITED BRIEFING
            Before the Court is Plaintiffs’ Motion to Shorten Time for Response to Plaintiffs

 Emergency Motion for Expedited Declaratory Judgment and Emergency Injunctive

 Relief and Request for Expedited Scheduling Order (Docket No. 7). The Court hereby

 GRANTS the motion IN PART and ORDERS the following schedule for briefing on

 Plaintiffs’ emergency motion (Docket No. 2):

           Defendant’s Response Due:        Thursday, December 31, 2020 by 5:00 p.m.

           Plaintiffs’ Reply Due:           Friday, January 1, 2021 by 9:00 a.m.

 No hearing will be held on the emergency motion absent further notice from the

 Court.

            Counsel for Plaintiff is further ORDERED to immediately email a copy of this

 Order to Gregory F. Jacob, Counsel to the Vice President; Christopher Healy, U.S.

 Department of Justice; and Stephen J. Cox, U.S. Attorney for the Eastern District of

 Texas upon receipt.




                                                1
Case 6:20-cv-00660-JDK Document 12 Filed 12/29/20 Page 2 of 2 PageID #: 109




 So ordered and signed on this
 Dec 29, 2020




                                    2
